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 6
                                    UNITED STATES DISTRICT COURT
 7
                                 SOUTHERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                   )        Criminal Case No. 12CR2835-DMS
 9                                               )
                           Plaintiff,            )
10                                               )
            v.                                   )
11                                               )        DISMISSAL AND JUDGMENT
     BRAYAN ARRIAGA (2),                         )
12                                               )
                                                 )
13                         Defendant.            )
14     Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and with leave of the Court as
15   endorsed hereon, the United States Attorney for the Southern District of California hereby dismisses,
16   without prejudice, the Information in the above-captioned case against Defendant BRAYAN
17   ARRIAGA.
18   DATED: July 31, 2012
                                                          LAURA E. DUFFY
19                                                        United States Attorney
20
                                                          __s/Alessandra P. Serano___
21                                                        ALESSANDRA P. SERANO
                                                          Assistant U.S. Attorney
22
23          Leave of the Court for the filing of the dismissal without prejudice is GRANTED.
24
     DATED: August 1, 2012
25
26
                                                     HON. DANA M. SABRAW
27                                                   United States District Judge
28
